                                                                                  DISTRICT OF OREGON
                                                                                      FILED
                                                                                     October 27, 2021
                                                                               Clerk, U.S. Bankruptcy Court



        Below is an order of the court.




                                                                _______________________________________
                                                                          PETER C. McKITTRICK
                                                                          U.S. Bankruptcy Judge




                                  UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF OREGON

In re                                        )   Case No.     16-33185-pcm7
 SZANTO, PETER                               )
                                             )   Motion and Notice of
                                             )   Intent to Incur Expenses;
                                             )   and Order Thereon
Debtor(s)                                    )



1.       The undersigned trustee, Candace Amborn                       , moves for an order authorizing
         the payment of the following expenses from property of the estate as follows:

Payee                                  Item (include explanation)                             Amount
Independent Financial Bank             Monthly banking fees                                 $570 per month

(Bank holding estate funds)            1.75% APR multiplied by average collected               estimated

                                       daily balance




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2.       The foregoing expenses are justified by the following facts:
        It is customary in the area of Chapter 7 trustee banking institutions.




IT IS ORDERED, AND NOTICE IS GIVEN, that the trustee may incur and pay the above expenses from
estate funds without further notice or court order, unless within 23 days of the date in the “Filed”
stamp, an interested party:

(1) files a written objection, setting forth the specific grounds for the objection, with the clerk at 1050
SW 6th Ave. #700, Portland OR 97204 or 405 E 8th Ave. #2600, Eugene OR 97401; and

(2) serves the objection on the trustee at:
Candace Amborn, PO Box 580, Medford, OR 97501
                                                                                                          .

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Date:      10/26/2021                                    /s/ Candace Amborn
                                                                              Trustee




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